EXHIBIT A

 
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FILED
2/25/2022 4.24 PM
Mary Angie Garcia

Bexar County District Clerk
cepted By’ Laura Castil 2022C103519
Boe County 3t6 Distnct Court CAUSE NO ee ee ee .
CARLOS A. ROMERO, IN THE DISTRICT COURT
Plaintiff
VS. ___ JUDICIAL DISTRICT

ARGENT MORTGAGE COMPANY, LLC,
As Lender; U.S. BANK NATIONAL
ASSOCIATION, as Trustee for CITIGROUP
MORTGAGE LOAN TRUST, INC.,
By and through its Mortgage Servicer,
PHH MORTGAGE CORPORATION,
Defendant BEXAR COUNTY, TEXAS

PLAINTIFF’S ORIGINAL PETITION AND APPLICATION FOR
TEMPORARY RESTRAINING ORDER AND
SUPPORTING AFFIDAVIT

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES CARLOS A, ROMERO, Plaintiff herein, and files this his Original
Petition and Application for Temporary Restraining Order against Defendants, ARGENT
MORTGAGE COMPANY, LLC, As Lender; U.S. BANK NATIONAL ASSOCIATION, as
Trustee for CITIGROUP MORTGAGE LOAN TRUST, INC., By and through its Mortgage
Servicer, PHH MORTGAGE CORPORATION, and in support thereof shows as follows:

Discovery is intended to be conducted under Level 2 of Texas Rule of Civil Procedure
190.

PARTIES AND SERVICE

CARLOS A. ROMERO, Plaintiff, is an individual residing in San Antonio, Bexar
County, Texas.

Defendant, ARGENT: MORTGAGE COMPANY, LLC, As Lender; U.S, BANK
NATIONAL ASSOCIATION, as Trustee for CITIGROUP MORTGAGE LOAN TRUST, INC.,
By and through its Mortgage Servicer, PHH MORTGAGE CORPORATION, who may receive
notice hereof through its Agent for Service, Power Default Services, Inc., Northpark Tawa
Center, 1000 Abernathy Road NE, Bldg. 400, Ste, 200, Adanta, GA 30328; Tel (855) 427-2204
and Fax (866) 960-8298,
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JURISDICTION AND VENUE
The subject matter in controversy is within the jurisdictional limits of the court.

The Court has jurisdiction over Defendants because said Defendants purposefully availed
themselves of the privilege of conducting activities in the State of Texas and established
minimum contacts sufficient to confer jurisdiction over said Defendant, and the assumption of
jurisdiction over Defendants, ARGENT MORTGAGE COMPANY, LLC, As Lender; U.S,
BANK NATIONAL ASSOCIATION, as Trustee for CITIGROUP MORTGAGE LOAN
TRUST, INC., By and through its Mortgage Servicer, PHH MORTGAGE CORPORATION,
will not offend traditional notions of fair play and substantial justice and is consistent with the
constitutional requirements of due process. Plaintiff, CARLOS A. ROMERO, had continuous
and systematic contacts within the State of Texas sufficient to establish jurisdiction over said
Defendants.

Venue in Bexar County is proper in the cause under Section 15.011 of the Texas Civil
Practice and Remedies Code because the action involves real property as provided by said
Section, and the county is where all or part of the real property is located at 6817 Oak Lake Dr.,
San Antonio, Bexar County, Texas 78244, more fully described as follows:

Lot 11, Block 24, WOODLAKE SUBDIVISION, UNIT 4,
according to the map or plat thereof recorded in Volume 6800,
Page 42, Deed and Plat Records of Bexar County, Texas.

FACTS

CARLOS A. ROMERO, Plaintiff herein, handles all legal affairs and all matters
pertaining to the property located at 6871 Oak Lake Dr, San Antonio, Bexar County, Texas
78244,

Plaintiff would inform the Court that he began having difficulty and hardship paying the
mortgage payments to Defendants herein when another business in which he was involved began
to lose business due to COVID, and Plaintiff began to have problems with the landlord of his
other business which caused Plaintiff to lose that business and incur significant financial losses
which made it difficult to sustain his income and pay the mortgage payments due. His own
business, appliance repair, also began to lose customers because of the COVID pandemic, and he
got behind in his mortgage payments,

He has not been able to catch up on the amount owed his mortgage holder, Defendants,
ARGENT MORTGAGE COMPANY, LLC, As Lender; U.S. BANK NATIONAL
ASSOCIATION, as Trustee for CITIGROUP MORTGAGE LOAN TRUST, INC., By and
through its Mortgage Servicer, PHH MORTGAGE CORPORATION, and is currently
attempting to reinstate his mortgage again, or refinance his loan to bring him current with his
note. The Defendants have not worked with him during this period of his difficulties in bringing
his account current, and even while Plaintiff has attempted to reinstate his note, the Defendants,
ARGENT MORTGAGE COMPANY, LLC, As Lender, U.S. BANK NATIONAL
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ASSOCIATION, as Trustee for CITIGROUP MORTGAGE LOAN TRUST, INC., By and
through its Mortgage Servicer, PHH MORTGAGE CORPORATION, placed his home on the
foreclosure docket, This property in question is Plaintiff's homestead.

Plaintiff has made arrangements to sell his homestead to his daughter, Kendra Romero,
who has qualified for a new mortgage on the property, and Plaintiff needs additional time in
which to have his daughter finance a new mortgage on the property and pay the amount owed
Defendants, which will be to the mutual benefit and satisfaction of all parties concerned.
Plaintiff is asking and praying for the Court to grant him a chance to work out this problem with
the mortgage company, its servicing agent, and their attorney,

This is the first time Plaintiff has requested that the Court stop the foreclosure auction
scheduled for Tuesday, March 1, 2022, and afford him an equitable and fair solution to this
problem.

Defendants, ARGENT MORTGAGE COMPANY, LLC, As Lender; U.S. BANK
NATIONAL ASSOCIATION, as Trustee for CITIGROUP MORTGAGE LOAN TRUST, INC.,
By and through its Mortgage Servicer, PHH MORTGAGE CORPORATION, filed for
foreclosure and set the property in question on the foreclosure auction docket for Tuesday,
March I, 2022. Plaintiff was not given the Opportunity to work out a solution with the mortgage
company before the property wag scheduled for sale on the auction docket.

Plaintiff, CARLOS A. ROMERO, needs the Court's assistance in stopping the
foreclosure sale of his property on Tuesday, March I, 2022. After that date, it will be too late
for him to do anything to save his property. Plaintiff would ask and pray that the Court issue and
grant a Temporary Restraining Order and Temporary Injunction from conducting the foreclosure
sale of his property on Tuesday, March 1, 2022 in San Antonio, Bexar County, Texas, It would
be in the best interest of all parties concemed and justice and equity will be served.

In the alternative, Plaintiff, CARLOS A. ROMERO, would assert that pursuant to the
Texas Rules of Civil Procedure, Rule 736.11, the scheduled foreclosure sale of his property is
automatically stayed by virtue of the filing of this instrument, and the Defendant is restrained and
enjoined from the selling of the property in issue on the scheduled foreclosure auction on
Tuesday, March 1, 2022.

PENDANT STATE LAW CLAIMS
Breach of Contract and Bad Faith

Plaintiff would inform the Court that he had entered into a legal and enforceable
mortgage contract with the Defendant when he purchased the property in question on June 1,
2006, from Defendants who were under au obligation to honor their end of the mortgage contract
with Plaintiff so that by the end of the mortgage contract with Defendants, Plaintiff would obtain
a clear and legal title to the property conveying to him clear title and ownership of the property
in question, This, the Defendant failed to do because they have not allowed Plaintiff sufficient
time within which to refinance or reinstate the mortgage note in question, and allow Plaintiff to
comply with and honor his end of the mortgage contract. In this regard, Defendants, ARGENT
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MORTGAGE COMPANY, LLC, As Lender, U.S. BANK NATIONAL ASSOCIATION, as
Trustee for CITIGROUP MORTGAGE LOAN TRUST, INC., By and through its Mortgage
Servicer, PHH MORTGAGE CORPORATION, have breached their mortgage contract with
Plaintiff and have not acted in good faith as they are required to do under Texas law. They have
conducted themselves in bad faith and as such should not profit or gain by their conduct. By
reverting to this behavior and tactics, the Defendants breached their mortgage contract with the
Plaintiff and failed to act in good faith with him as required by the laws of the State of Texas.

The only remedy lefi Plaintiff is to enjoin the auction of his property by the Defendants
until he complies with the terms of the original mortgage contract and allow the Plaintiff to fulfill
and comply with the initial terms of the contract and either pay off the mortgage note or reinstate
the mortgage contract in question.

Plaintiff states he was not given adequate and proper notice of Defendant, PHH
MORTGAGE CORPORATION, intent to foreclose on his property, as is required by Texas law.
Additionally, Plaintiff would inform the Court that he did not receive adequate and legal notice
of the Defendants’ intent to sell his property at a foreclosure auction on Tuesday, March 1,
2022. Said notice is required by law before the property in question can be sold at auction and
thus, having received no notice, Defendant cannot sell the property as planned and stated.

Plaintiff would show the Court that as a result of the COVID Pandemic and its
subsequent impact in his life and business, he got behind with his mortgage payments when he
became unable to work due to his business suffering extensive loss of income, Plaintiff was
unaware of the fact that his home was placed on the Foreclosure Auction Docket for Tuesday,
March 1, 2022 until he was informed by a real estate investment buyer that his home was on the
foreclosure auction docket on Tuesday, March 1, 2022, He has received no written notice or
otherwise from his mortgage company or its servicing agent as to the foreclosure of his property
through the auction scheduled on Tuesday, March 1, 2022,

BREACH OF CONTRACT
Lack of Good Faith

Plaintiff would show the Court that by their conduct, Defendants, ARGENT
MORTGAGE COMPANY, LLC, As Lender; U.S. BANK NATIONAL ASSOCIATION, as
Trustee for CITIGROUP MORTGAGE LOAN TRUST, INC., By and through its Mortgage
Servicer, PHH MORTGAGE CORPORATION, failed to act in good faith with Plaintiff by
failing to make an effort to reinstate, refinance or modify his mortgage note with the Defendant
even after repeated calls and attempts by Plaintiff to work out a solution for his arrearage, which
was caused in no way by the Plaintiff. Said conduct on Defendant’s part by not cooperating with
Plaintiff and placing the property on the foreclosure auction-shows a lack of good faith in dealing
with Plaintiff, and constituted a breach of its contract with Plaintiff to act in good faith and in a
fair and equitable manner with the Plaintiff.

The above cited actions constituted a breach of contract with the Plaintiff on the part of
the Defendants, ARGENT MORTGAGE COMPANY, LLC, As Lender; U.S. BANK
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NATIONAL ASSOCIATION, as Trustee for CITIGROUP MORTGAGE LOAN TRUST, INC.,
By and through its Mortgage Servicer, PHH MORTGAGE CORPORATION, and as such,
Defendants have acted in an illegal and unlawful manner and in bad faith in its dealings with
Plaintiff, all contrary to the mortgage contract with Plaintiff and as required by the laws of the
State of Texas,

ELEMENTS FOR INJUNCTIVE RELIEF

In light of the above-described facts, Plaintiff seeks the requested relief from Defendants.
The nature of the lawsuit is for a complete accounting and declaration of the actual amount of
Plaintiff's indebtedness under the instruments supporting Defendants’ aforesaid foreclosure and
trustee’s auction and sale,

Plaintiff is likely to succeed on the merits of the lawsuit, and he is willing to attempt to
work out the problem with the mortgage company and pay Defendants the amount that is
rightfully due.

Unless the Honorable Court immediately restwains the Defendants, the Plaintiff will suffer
immediate and irreparable injury, for which there is no adequate remedy at law to give Plaintiff
complete, final and equitable relief. More specifically, Plaintiff will show the court the
following:

A. The hanm to Plaintiff is imminent because permitting foreclosure and trustee's sale to
proceed on Tuesday, March I, 2022, will deprive Plaintiff of his property located at
6841 Oak Lake Dr., San Antonio, Bexar County, Texas 78244,

B. The imminent harm will cause Plaintiff irreparable injury in that his property cannot
be retrieved after foreclosure and trustee’s sale,

C. There is no adequate remedy at law, which will give Plaintiff, CARLOS A.
ROMERO, complete, final and equitable relief because no vehicle other than
injunctive relief is available to prevent the Defendants’ scheduled foreclosure and
trustee’s sale from taking place,

BOND

Plaintiff is willing to post a reasonable temporary restraining order cash bond and request
the court to set such bond, if such a bond is required under Rule 736.11.

REMEDY
Plaintiff has met his burden by establishing each element, which must be present before

injunctive relief can be granted by the court, therefore Plaintiff is entitled to the requested
temporary restraining order,
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Plaintiff requests the court to restrain Defendants from conducting its foreclosure and
trustee's sale scheduled for Tuesday, March 1, 2022,

It is essential that the court immediately and temporarily restrain Defendant, PHH
MORTGAGE CORPORATION from conducting its foreclosure and trustee's sale scheduled for
Tuesday, March 1, 2022, that the court act immediately, prior to giving notice to Defendants and
a hearing on the matter because insufficient time remains for adequate notice and the conduct of
a hearing on Plaintiff's application for temporary relief,

In order to preserve the status quo during the pendency of the action, Plaintiff requests
that the Defendants be temporarily enjoined from conducting its foreclosure and trustee’s sale
scheduled for Tuesday, March 1, 2022.

PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff, CARLOS A, ROMERO,
respectfully prays that Defendant, PHH MORTGAGE CORPORATION, be cited to appear and
answer herein;

A. A temporary restraining order will issue without notice to Defendant, PHH
MORTGAGE CORPORATION restraining Defendant, Defendant’s officers, agents,
servants, employees, successors and assigns, and attomeys from directly or indirectly
conducting its foreclosure and trustee’s sale scheduled for Tuesday, March 1, 2022;

B. The court set a reasonable bond for the temporary restraining order;

C. After notice and hearing, a temporary injunction will issue enjoining and restraining
Defendants, ARGENT MORTGAGE COMPANY, LLC, As Lender; U.S, BANK
NATIONAL ASSOCIATION, as Trustee for CITIGROUP MORTGAGE LOAN
TRUST, INC, By and through its Mortgage Servicer, PHH MORTGAGE
CORPORATION, Defendants’ officers, agents, servants, employees, successors and
assigns, and attorneys from directly or indirectly conducting its foreclosure and
trustee’s sale scheduled for Tuesday, March I, 2022,

D. For such other and further relief, in law or in equity, to which Plaintiff may be justly
entitled, .
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Respectfully subm

itt
John E. Sema “\

State Bar No. 18037000
3010 Hillcrest Dr,
San Antonio, Texas 78201
Tel, (210) 833-6917
Off: (210) 731-8540
Fax: (210) 733-7889
Email: johnesernaQ|@yahoo.com
Attorney for Plaintiff

CERTIFICATE OF VIC

[hereby certify that on this ASirday of Eb, 2022, a true copy of the

foregoing Application has been served on the following:
Glenda Hamilton
c/o Power Default Services, Inc., Northpark Town Center, 1000 Abernathy Road NE, Bidg.
400, Ste, 200, Atlanta, GA 30328; Tel (885) 427-2204 and Fax (866) 960-8298.

Attorneys for Defendant

 

JORN B. “SERNA, itorne y for Plaintiff
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AFFIDAVIT IN SUPPORT OF PLAINTIFF'S
APPLICATION FOR TEMPORARY RESTRAINING ORDER

My name is CARLOS A. ROMERO and J am over 18 years of age, and in support of the
foregoing Application for Temporary Restraining Order, state the following:

| purchased the property in question as my sole and separate property on June 1, 2006,

I fell in arrears of my mortgage account through no fault of mine but due to my personal business
setbacks and slow periods and then the COVID pandemic, which has adversely affected me and
everyone else in this country. During the course of my difficulties with my businesses and the
COVID Pandemic, I attempted to bring my account current with the morigage company to
reinstate my mortgage contract, but they have not worked with me to reinstate or refinance my
contract. They then proceeded to foreclose on my contract and schedule the property for auction
sale on Tuesday, March 1, 2022. 1 do not think that the mortgage company acted in good faith
and feel they breached the terms of their contract with me.

I intend to sell the property in question to my adult daughter, Kendra Romero, who has
already qualified for a new mortgage, which will enable me to pay off the amount owed the real
estate investment buyer who will purchase the property from me and pay off the mortgage note
balance, all to the mutual satisfaction of all parties concerned, This will enable me to salvage
some of the equity that I accumulated on this property since I purchased it and started making
mortgage payments when the property was purchased initially.

If the property is sold at auction on Tuesday, March 1, 2022, I will lose all of the equity
and interest 1 have in the property in question, and my children and I will have no other place to
live, as this property is our homestead, The mortgage company has not treated me fairly as
required by our contract and pursuant to Texas law, and I am in desperate need of assistance by
this Court in granting my Application for Temporary Restraining Order, restraining and
enjoining the sale of this property until 1 can reinstate on my own and bring my account current
with the Defendant mortgage company, or sell the house to my daughter who will buy the house
from me and all the amounts owed can be paid to Defendants, which will be to the mutual
benefit of all parties concerned in this matter, and in accordance with the laws of the State of
Texas and in the best interest of all concerned.

I would further inform the Court that this is the first time I have requested a temporary
restraining order on this property,
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Further, Affiant sayeth not, Vn

CARLOS A. ROMERO ~

 

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FICATION

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STATE OF TEXAS
COUNTY OF BEXAR

BEFORE ME, the undersigned authority, personally appeared CARLOS A, ROMERO,
Plaintiff, who on oath stated that the statements made in the foregoing Application for
Temporary Restraining Order are true and correct.

Cte f Nee!

CARLOS A, ROMERO

SUBSCRIBED AND SWORN TO BEFORE ME on this oh day of
ued 022, to certify which witness my Cee seal of office... Vy
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ublic, State of Texas

 
